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                         IN THE'UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


 RUTH FAINE, VERNON FAINE, HELEN )
 DEVITO, as the Executor of the Estate of )            Civil Action No.:
 FRANK DEVITO, Deceased, and.HELEN )                   2:19-cv-05729-GRB-RML
 DEVITO, Individually,                    )
                                              )
                               Plaintiffs     )
                                              )
 ZEP, INC., and DOW CHEMICAL CO.,             )
                                              )
                               Defendants.    )


                       STIPULATION OF VOLUNTARY DISMISSAL
                           PURSANT TO F.R.C.P. 41 (a)(1)(A)(ii)


          IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

 respective counsel(s) that the above-captioned action is voluntarily dismissed, without prejudice

 by Plaintiffs HELEN DEVITO, as the Executor of the Estate of FRANK DEVITO, Deceased,

 and HELEN DEVITO, Individually, against the defendants ZEP, INC. and DOW CHEMICAL

 CO. pursuant to the Federal Rules ofCivil Procedu        .a)

 Dated:         `    .1C
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